Case 17-64941-sms        Doc 61    Filed 02/25/21 Entered 02/25/21 14:09:21           Desc Main
                                   Document     Page 1 of 8



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                           :          CASE NO. 17-64941-SMS
                                                 :
ROGER CARROLL BURGESS,                           :          CHAPTER 7
                                                 :
         Debtor.                                 :
                                                 :
                                                 :
S. GREGORY HAYS, as Chapter 7 Trustee,           :
                                                 :
         Movant,                                 :
                                                 :
v.                                               :          CONTESTED MATTER
                                                 :
ROGER CARROLL BURGESS,                           :
                                                 :
         Respondent.                             :
                                                 :
                                                 :


                   TRUSTEE’S OBJECTION TO CLAIMED EXEMPTIONS

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Applicant”) for

the bankruptcy estate of Roger Carroll Burgess (“Debtor”), and files Trustee’s Objection to

Claimed Exemptions (the “Objection”), respectfully showing the Court as follows:

                                     Jurisdiction and Venue

                                               1.

         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. §§

1408 and 1409).




16251114v1
Case 17-64941-sms       Doc 61      Filed 02/25/21 Entered 02/25/21 14:09:21         Desc Main
                                    Document     Page 2 of 8



                           Background Facts and Relief Requested

                             a. General Facts and Available Assets

                                               2.

        Debtor initiated the underlying bankruptcy case (the “Case” or “Bankruptcy Case”) by

filing a voluntary petition for relief under Chapter 7 of Title 11 of the United States Code (the

“Bankruptcy Code”) on August 28, 2017.

                                               3.

        Trustee was thereafter appointed and remained the duly acting Chapter 7 trustee in this

Case. On September 22, 2017, the Case was dismissed for Debtor’s failure to pay filing fee.

[Doc. No. 12]. On October 6, 2017, the Court entered an Order vacating the dismissal and

extending the deadline to object to discharge and dischargeability. [Doc. No. 18].

                                               4.

        On August 2, 2018, the Court entered an order discharging Debtor and closing the

Bankruptcy Estate. [Doc. No. 39].

                                               5.

        On January 20, 2021, Nancy J. Gargula, United States Trustee for Region 21, filed a

Motion to Reopen after the Trustee was contacted by an attorney representing the Debtor in a

class action law suit related to a personal injury action claim (the “Litigation”) and a proposed

settlement and a proposed net payment to the Debtor (the “Settlement”).

                                               6.

        On January 21, 2021, the Court granted the Motion to Reopen the Case. [Doc. No. 42].




16251114v1
Case 17-64941-sms         Doc 61    Filed 02/25/21 Entered 02/25/21 14:09:21          Desc Main
                                    Document     Page 3 of 8



                                                 7.

          Trustee was reappointed Chapter 7 trustee in the Case. [Doc. No. 49]. Notably, Debtor

is proceeding pro se in this matter.

                                                 8.

          At the commencement of Debtor’s bankruptcy case, a bankruptcy estate was created

under 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and it includes all Debtor’s legal or

equitable interests in property as of the commencement of the Bankruptcy Case and any interest

in property that it acquires after commencement of the Bankruptcy Case. 11 U.S.C. § 541(a)(1)

and (7) (2018).

                                       b. The Property Interest

                                                 9.

          On January 29, 2021, Debtor filed an amended Schedule A/B: Property and scheduled

total assets in the amount of $55,215.70. [Doc. No. 44, Page 7 of 10].

                                 c. Debtor’s Claimed Exemptions

                                                   10.

          On his amended Schedule C: The Property You Claim as Exempt, which was also filed on

January 29, 2021, Debtor scheduled an exemption in “Lawsuit Settled” in the full scheduled

value of the Settlement in the amount of $48,796.25 (the “Exemption”).1 [Doc. No. 44, Page 9

of 10].




1
       The deadline to object to this improperly claimed exemption is February 28, 2021. See
Fed. R. Bankr. P. 4003(b).


16251114v1
Case 17-64941-sms       Doc 61    Filed 02/25/21 Entered 02/25/21 14:09:21           Desc Main
                                  Document     Page 4 of 8



                              Objection to Claimed Exemptions

                                                11.

        Pursuant to O.C.G.A. § 44-13-100(b), the State of Georgia has opted out of the federal

exemption scheme and follows its own state-provided exemptions as set forth in O.C.G.A. § 44-

13-100(a). See Ga. Code Ann. 44-13-100.

                                                12.

        Under Rule 4003(b) of the Federal Rules of Bankruptcy Procedure, Trustee and other

parties have thirty (30) days from the conclusion of the 341 Meeting or within thirty (30) days

after any amendment to the list or supplemental schedule is filed, whichever is later, to file an

objection to exemptions. Fed. R. Bankr. P. 4003.

                                                13.

        Under O.C.G.A. § 44-13-100(a)(11)(D), a debtor may exempt a payment on account of a

personal bodily injury in an amount not to exceed $10,000.00.

                                                14.

        Under O.C.G.A. § 44-13-100(a)(6), a debtor may exempt debtor’s aggregate interest, not

to exceed $1,200.00 in value plus any unused amount of exemption not to exceed $10,000.00

provided under O.C.G.A. § 44-13-100(a)(1).

                                                15.

        Nevertheless, Debtor has exceeded the amount of exemption to which he is entitled under

O.C.G.A. § 44-13-100(a)(11)(D), and he has exceeded the amount of exemption to which he is

entitled under O.C.G.A. § 44-13-100(a)(6).




16251114v1
Case 17-64941-sms        Doc 61    Filed 02/25/21 Entered 02/25/21 14:09:21            Desc Main
                                   Document     Page 5 of 8



                                                 16.

        Applying the dollar limits set forth in O.C.G.A. § 44-13-100, Debtor is only entitled to an

exemption in the Settlement in the amount of $21,160.00 (the $10,000.00 exemption available

under (a)(11)(D) and $11,160.00 exemption under (a)(6)). Trustee requests an order from the

Court limiting Debtor’s exemption in the Settlement to this $21,160.00.

        WHEREFORE, Trustee prays that the Court sustain the Objection and that the Court

grant such other and further relief deemed just and proper.

        Respectfully submitted this 25th day of February, 2021.



                                                          ARNALL GOLDEN GREGORY LLP
                                                          Proposed Attorneys for Trustee

                                                          By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                                Michael J. Bargar
Atlanta, GA 30363                                              Georgia Bar No. 645709
(404) 873-8500                                                 michael.bargar@agg.com




16251114v1
Case 17-64941-sms        Doc 61    Filed 02/25/21 Entered 02/25/21 14:09:21            Desc Main
                                   Document     Page 6 of 8



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                           :          CASE NO. 17-64941-SMS
                                                 :
ROGER CARROLL BURGESS,                           :          CHAPTER 7
                                                 :
         Debtor.                                 :
                                                 :
                                                 :
S. GREGORY HAYS, as Chapter 7 Trustee,           :
                                                 :
         Movant,                                 :
                                                 :
v.                                               :          CONTESTED MATTER
                                                 :
ROGER CARROLL BURGESS,                           :
                                                 :
         Respondent.                             :
                                                 :
                                                 :

                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that S. Gregory Hays, the Chapter 7 Trustee (the “Trustee”),
has filed Trustee’s Objection to Claimed Exemptions.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the
Objection in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta,
Georgia at 10:30 A.M. on March 31, 2021.

         Your rights may be affected by the Court’s ruling on this pleading. You should read this
pleading carefully and discuss it with your attorney, if you have one in this bankruptcy case. (If
you do not have an attorney, you may wish to consult one.). If you do not want the Court to grant
the relief sought in this pleading or if you want the Court to consider your views, then you and/or
your attorney must attend the hearing. However, given the current public health crisis,
hearings may be telephonic only. Please check the “Important Information Regarding
Court Operations During COVID-19 Outbreak” tab at the top of the GANB Website prior
to the hearing for instructions on whether to appear in person or by phone. You may also
file a written response to the pleading with the Clerk at the address stated below, but you are not
required to do so. If you file a written response, you must attach a certificate stating when, how
and on whom (including addresses) you served the response. Mail or deliver your response so
that it is received by the Clerk at least two (2) business days before the hearing. The address of
the Clerk’s Office is: Suite 1340, Richard B. Russell Federal Building, 75 Ted Turner Drive,



16251114v1
Case 17-64941-sms       Doc 61      Filed 02/25/21 Entered 02/25/21 14:09:21     Desc Main
                                    Document     Page 7 of 8



SW, Atlanta, Georgia 30303. You must also mail a copy of your response to counsel for the
Chapter 7 Trustee, Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, N.W. Suite
2100, Atlanta, Georgia 30363-1031.


Dated: February 25, 2021                    ARNALL GOLDEN GREGORY LLP
                                            Proposed Attorneys for Trustee

                                            By: /s/ Michael J. Bargar
                                                Michael J. Bargar
171 17th Street, N.W., Suite 2100               Georgia Bar No. 645709
Atlanta, GA 30363                               michael.bargar@agg.com
                                               Tel: 404.873.8500




16251114v1
Case 17-64941-sms         Doc 61    Filed 02/25/21 Entered 02/25/21 14:09:21           Desc Main
                                    Document     Page 8 of 8



                                 CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing Trustee’s Objection to Claimed

Exemptions and Notice of Hearing by depositing in the United States mail a copy of same in a

properly addressed envelope with adequate postage affixed thereon to assure delivery by first

class mail to the following entities at the addresses stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Roger Carroll Burgess
2612 Leland Drive
Augusta, GA 30909

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

        This 25th day of February, 2021.

                                                       /s/ Michael J. Bargar
                                                       Michael J. Bargar
                                                       Georgia Bar No. 645709




16251114v1
